                                  Case 23-10935                   Doc 1        Filed 07/16/23            Page 1 of 18

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ViewRay, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             f/k/a Mirax Corp.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               XX-XXXXXXX
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  1099 18th Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 3000                                               _______________________________________________
                                              ______________________________________________
                                                                                                           P.O. Box

                                              Denver                       CO       80202
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Denver
                                              ______________________________________________               815 E Middlefield Rd
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                            Mountain View             CA         94043
                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ViewRay.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor
               ViewRay, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3345
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          
                                                          ✔ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
                ViewRay, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases            
                                              ✔ No
       filed by or against the debtor
       within the last 8 years?                Yes.    District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                   District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY

 10.   Are any bankruptcy cases                No
       pending or being filed by a                              ViewRay Technologies, Inc.                                         Affiliate
       business partner or an                 
                                              ✔ Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                                   Delaware
                                                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                            MM / DD / YYYY
       attach a separate list.                          Case number, if known ________________________________



 11.   Why is the case filed in this          Check all that apply:
       district?
                                              
                                              ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have            
                                              ✔ No
       possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _____________________________________________________________________

                                                          It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                          Other _______________________________________________________________________________



                                                       Where is the property?_____________________________________________________________________
                                                                                 Number          Street

                                                                                 ____________________________________________________________________

                                                                                 _______________________________________         _______ ________________
                                                                                 City                                            State ZIP Code


                                                       Is the property insured?
                                                          No
                                                          Yes. Insurance agency ____________________________________________________________________

                                                                Contact name     ____________________________________________________________________

                                                                Phone            ________________________________




               Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
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Debtor
               ViewRay, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         ✔ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
       (on a consolidated basis)         
                                         ✔ 200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               
                                                                             ✔ $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               
                                                                             ✔ $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                              7/16/23
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Paul Ziegler
                                             _____________________________________________
                                                                                                          Paul Ziegler
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   President & Chief Executive Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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              ViewRay, Inc.
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Ian J. Bambrick
                                            _____________________________________________            Date            7/16/23
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Ian J. Bambrick
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Faegre   Drinker Biddle & Reath LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            222 Delaware Avenue, Suite 1410
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           Wilmington                                                         DE        19801
                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                            (302) 467-4200
                                           ____________________________________
                                                                                                           ian.bambrick@faegredrinker.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           5455
                                           ______________________________________________________ ____________
                                                                                                               DE
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit “A” shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is 001-37725.

             2. The following financial data is the latest available information and refers to the debtor’s condition on
        3/31/2023.
              a. Total assets                                                              $233,159,000

              b. Total debts (including debts listed in 2.c., below)                       $75,000,000
              c. Debt securities held by more than 500 holders
                                                                                                                            Approximate
                                                                                                                            number of
                                                                                                                            holders:

              secured        ☐   unsecured   ☐    subordinated        ☐    $
              secured        ☐   unsecured   ☐    subordinated        ☐    $
              secured        ☐   unsecured   ☐    subordinated        ☐    $
              secured        ☐   unsecured   ☐    subordinated        ☐    $
              secured        ☐   unsecured   ☐    subordinated        ☐    $

              d. Number of shares of preferred stock: 10,000,000 shares authorized; none issued and outstanding
              e. Number of shares common stock: 300,000,000 shares authorized; 183,384,069 issued; 181,586,944
                 outstanding

              Comments, if any:

              3. Brief description of debtor’s business: ViewRay, Inc. designs, manufactures, and markets the MRIdian
        MRI-guided Radiation Therapy System. MRIdian is built upon a proprietary high-definition magnetic
        resonance (“MR”) imaging system designed from the ground up to address the unique challenges and clinical
        workflow for advanced radiation oncology. The MRIdian MRI-guided Radiation Therapy System integrates
        diagnostic-quality MR imaging with radiation therapy delivery to enable on-table adaptive treatments with
        real-time tissue tracking and automatic beam gating.
             4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor: Entities affiliated with (1) Artisan Partners Limited
        Partnership; (2) Pura Vida Investments, LLC; (3) Hudson Executive Capital L.P.; (4) Fosun International
        Limited; (5) BlackRock, Inc.; (6) The Vanguard Group; and (7) Neuberger Berman Group LLC.




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                         Case 23-10935               Doc 1           Filed 07/16/23               Page 7 of 18


      Fill in this information to identify the case:

      Debtor name               ViewRay, Inc.
      United States Bankruptcy Court for the:                               District of   Delaware
      Case number (If known):
                                                                                          (State)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing




Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and                 Nature of the    Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor contact           claim (for       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                             example, trade   contingent,     claim amount. If claim is partially secured, fill in
                                                                                             debts, bank      unliquidated,   total claim amount and deduction for value of
                                                                                             loans,           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                             professional
                                                                                             services, and
                                                                                                                              Total claim, if     Deduction for      Unsecured
                                                                                                                              partially           value of           claim
                                                                                                                              secured             collateral or
                                                                                                                                                  setoff
  Siemens AG Imaging Therapy
1 Division
  H IM MR SCM SP                                Attn: Andreas Koenigsreuther
                                                                                            Trade Claim                                                             $6,342,456.34
  Allee am Roethelheimpark 2                    P: (+49) 913-184-3920
  Erlangen, 91052
  Germany

2 PEKO Precision Products                       Attn: Jeff Lake
  1400 Emerson St                               P: (585) 647-3010 X3014                     Trade Claim                                                             $2,771,554.78
  Rochester, NY 14606                           jlake@pekoprecision.com


3 Transgroup                                    Attn: Lars Pormose
                                                P: (650) 219-3759
  219 Shaw Rd                                                                               Trade Claim                                                             $2,215,396.24
                                                lars.pormose@transgroup.com
  San Francisco, CA 94080
                                                info@transgroup.com
    Jastec Inc.                                 Attn: Kaori Tasaki
4
    5-9-12 Kitashinagawa                        P: (+81) 357-395-210
    shinagawa-ku                                F: (+81) 357-395-211                        Trade Claim                                                             $2,012,631.58
    Tokyo, 141-8688                             kaori.tasaki@jastec.co.jp
    Japan                                       info@jastec.co.jp

5                                               Attn: Erika Guerrero
    MC Electronics
                                                P: (915) 704-2673
    1891 Airway Dr                                                                          Trade Claim                                                             $1,083,921.38
                                                erika.guerrero@mcelectronics.com
    Hollister, CA 95032
                                                info@mcelectronicsrepair.com

    Tesla Engineering, Ltd.
6
    Water Lane                                  Attn: Russell Fellows
    Sotrrington                                 P: (+44) 190-374-3941 ext 261               Trade Claim                                                             $1,066,226.50
    Sussex, RH20 3EA                            fellows@tesla.co.uk
    United Kingdom

7 GMI Solutions, Inc                            Attn: Angie Becker
                                                P: (414) 573-7984
  10202 North Enterprise Dr                                                                 Trade Claim                                                               $954,679.64
                                                abecker@gmiweb.com
  Mequon, WI 53092
                                                contact@gmisolutions.com

8 Mass Precision Inc.                           Attn: David Tye
  2110 Oakland Rd                               P: (408) 786-0381                           Trade Claim                                                               $776,712.95
  San Jose, CA 95131                            david@massprecision.com

    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                             page 1
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    Debtor Name                ViewRay, Inc.                                    Case Number


     Name of creditor and complete          Name, telephone number, and email   Nature of       Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         the claim       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                (for example,   contingent,     claim amount. If claim is partially secured, fill in
                                                                                trade debts,    unliquidated,   total claim amount and deduction for value of
                                                                                bank loans,     or disputed     collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff


9     PDC                                  Attn: Shenelle Jardine
      700 Walnut Ridge Dr                  P: (262) 369-1926                    Trade Claim                                                            $711,393.20
      Hartland, WI 53029                   sjardine@pdcbiz.com

10 Arrow Electronics, Inc                  Attn: Christopher Adams
                                           P: (317) 340-1299
   1955 E Sky Harbor CIR NO                                                     Trade Claim                                                            $677,631.27
                                           dtaylor@arrow.com
   Phoenix, AZ 85034
                                           complaince@arrow.com
      MRS Magnetics Limited
11
      Unit 6 Blacklands Way
                                           Attn: David Taylor
      Abingdon                                                                  Trade Claim                                                            $629,946.25
                                           P: (+44) 01483532146
      Oxfordshire, OX14 1DY
      United Kingdom

12 Everbrite, LLC                          Attn: Rachel Penning
   401 Koopman LN                          P: (262) 741-1335                    Trade Claim                                                            $607,303.00
   Elkhorn, WI 53121                       rpenning@everbrite.com


13 Quality Electrodynamics
   700 Beta DR                             Attn: Dr. Hiroyuki Fujita
                                                                                Trade Claim                                                            $538,683.75
   Suite 100                               P: (440) 646-9815
   Mayfield Village, OH 44143

14 Teledyne e2v                            Attn: Betty Ledesma
   700 Chestnut Ridge Rd                   P: (845) 578-6140                    Trade Claim                                                            $484,372.00
   Chestnut Ridge, NY 10977                ledesma@teledyne-e2v.com

15 Valley Services Electronics             Attn: Beth Kendrick
   6190 San Ignacio Avenue                 P: (408) 284-7700                    Trade Claim                                                            $476,284.00
   San Jose CA 95119                       info@www.vse.com


16 Azel Enterprise, Inc                    Attn: Sang Tran
   625 Wool Creek Dr
                                           P: (510) 209-2196                    Trade Claim                                                            $476,140.69
   Suite G
                                           info@azelent.com
   San Jose, CA 95112

17 Deloitte & Touche LLP                   Attn: Cory Vann                      Professional
   1601 Wewatta Street
                                           P: (303) 725-6604                    Services                                                               $400,230.00
   Suite 400
                                           cvann@deloitte.com                   Claim
   Denver, CO 80202

18 LAP Sued GmbH (Euromechanics) Attn: Thomas Simmerer
   Bahnhofstraße 4               P: +49 9128 9111 190
                                                                                Trade Claim                                                            $398,345.98
   Schwarzenbruck, 90592         F: +49 9128 9111 199
   Germany                       info@lap-laser.com

19 Paramount Electronics Ltd               Attn: Daniel Andrew
                                           P: +44 1296 399984
   Little Balmer
                                           F: +44 1280 814140                 Trade Claim                                                              $362,777.60
   Buckingham, MK18 1TF
                                           sales@paramountelectronics.co.uk
   United Kingdom
                                           dandrew@paramountelectronics.co.uk

20 Stangenes                               Attn: Lill Runge
                                           P: (650) 493-0814
   1052 East Meadow Circle                                                      Trade Claim                                                            $337,485.00
                                           info@stangenes.com
   Palo Alto, CA 94303
                                           hr@stangenes.com



    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 2
                                     Case 23-10935               Doc 1      Filed 07/16/23          Page 9 of 18


 Debtor Name                   ViewRay, Inc.                                    Case Number


     Name of creditor and complete          Name, telephone number, and email   Nature of       Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact         the claim       claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                (for example,   contingent,     claim amount. If claim is partially secured, fill in
                                                                                trade debts,    unliquidated,   total claim amount and deduction for value of
                                                                                bank loans,     or disputed     collateral or setoff to calculate unsecured claim.
                                                                                professional
                                                                                services, and
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

21 Expedite Precision Works Inc.           Attn: Almiro Furtado
                                           P: (408) 573-9600
   931 Berryessa Rd                                                             Trade Claim                                                            $332,179.06
                                           F: (408) 573-9700
   San Jose, CA 95133
                                           epwi@expediteprecision.com

22 Katie Couric Media LLC                  Attn: Katie Couric
   100 Crosby St
                                           P: (212) 297-0707                    Trade Claim                                                            $320,833.00
   Suite 301
                                           jkeller@keygroup.tv
   New York, NY 10012

23 Marx Digital Manufacturing              Attn: Shane Johnson
   3551 Victor ST                          P: (408) 748-1783                    Trade Claim                                                            $309,153.88
   Santa Clara, CA 95054                   s.johnson@marxdigital.com


24 Designworks/USA, Inc.
                                           Attn: Holger Hampf
   1601 Olympic Blvd                                                            Trade Claim                                                            $287,500.00
                                           P: (310) 460-3300
   Santa Monica, CA 90404

25 Klinikum der Universitat Munchen        Attn: Monika Ruger
   Marchioninistr. 15                      P: +49 89 4400 72149
                                                                            Trade Claim                                                                $274,434.35
   München, 81377                          F: +49 89 4400 54630
   Germany                                 dagmar.schob@med.uni-muenchen.de

26 RK Logistics Group, Inc.                Attn: Joe MacLean
                                           P: (800) 821-7770
   41707 Christy Street                                                         Trade Claim                                                            $273,432.31
                                           F: (408) 942-9226
   Fremont, CA 94538
                                           info@rklogisticsgroup.com

27 Thermo Fisher Scientific Inc.
                                           Attn: Marc Casper
     4951 Langdon Road                                                          Trade Claim                                                            $257,850.00
                                           P: (781) 622-1000
     Dallas, TX 75241

28 NAMSA - USA                             Attn: Ellen Roers
   400 Highway 169 South                   P: (832) 871-8777
                                                                                Trade Claim                                                            $255,365.02
   Suite 500                               communications@namsa.com
   Minneapolis, MN 55426                   eroers@namsa.com

29                                         Attn: Christopher Nook
     Helix Linear Technologies, Inc.       P: (216) 470-1083
     23200 Commerce PK                     F: 855-444-7543                      Trade Claim                                                            $250,040.59
     Beachwood, OH 44122                   sales@helixlinear.com;
                                           cnook@helixlinear.com

30 Altitude Exhibits LLC                   Attn: Jeremy Luther
   3395 Carder Ct
                                           P: (303) 801-3590                    Trade Claim                                                            $246,495.25
   Unit 100
                                           jeremy.luther@altitudeexhibits.com
   Highlands Ranch, CO 80129




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 3
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    ViewRay, Inc., et al.,                                  Case No. 23-______ (___)

                    Debtors.1                               (Joint Administration Requested)


                      COMBINED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), ViewRay, Inc. and ViewRay Technologies, Inc. (together,

the “Debtors”) hereby certify as follows:

             Based on the books and records of the Debtors, no corporation owns 10% or more of the

stock of Debtor ViewRay, Inc.

             Debtor ViewRay, Inc. owns 100% of the equity interests of Debtor ViewRay Technologies,

Inc.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are ViewRay, Inc. (7485) and ViewRay Technologies, Inc. (8429). The mailing address for each of the
Debtors is 1099 18th Street, Suite 3000, Denver, CO 80202.


US.357857402.04
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                                      CERTIFICATE


I, Sanket Shah, Secretary of ViewRay, Inc. and ViewRay Technologies, Inc., each a Delaware
corporation, (collectively, as the “Company”), DO HEREBY CERTIFY that Exhibit A is a true
and correct copy of resolutions duly adopted at a meeting of the Board of Directors of the
Company duly held and convened on July 15, 2023, at which meeting a duly constituted quorum
of the Board of Directors was present and acting throughout and that such resolutions have not
been modified, rescinded or revoked and are at present in full force and effect.


IN WITNESS WHEREOF, the undersigned has executed this Certificate this 16th day of July,
2023.


                                              /s/ Sanket Shah

                                              Senior Vice President, General Counsel and
                                              Corporate Secretary

                                              ViewRay, Inc. and ViewRay Technologies, Inc
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                    EXHIBIT A


   RESOLUTIONS OF THE BOARDS OF DIRECTORS
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                                   VIEWRAY, INC.
                             VIEWRAY TECHNOLOGIES, INC.

                   RESOLUTIONS OF THE BOARDS OF DIRECTORS

                                          July 15, 2023

        The members of the Boards of Directors (collectively, the “Boards” and each, a “Board” )
of ViewRay, Inc. and ViewRay Technologies, Inc., each a Delaware corporation, (hereinafter
referred to as “ViewRay” and “ViewRay Technologies” and, collectively, as the “Company”),
hereby consented to, approved, and adopted the following resolutions at the meetings of the Boards
held on July 15, 2023.

       WHEREAS, the Boards have reviewed and considered the financial and operational
condition of the Company and the Company’s business on the date hereof, including the historical
performance of the Company, the assets of the Company, the current and long-term liabilities of
the Company, the market for the Company’s assets, and credit market conditions; and

        WHEREAS, the Boards have received, reviewed and considered the recommendations of
the senior management of the Company and the Company’s legal, financial, and other advisors as
to the relative risks and benefits of pursuing a bankruptcy proceeding under the provisions of
chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).

       NOW, THEREFORE, BE IT:

Commencement and Prosecution of Bankruptcy Cases

       RESOLVED, that, in the judgment of the Boards, it is desirable and in the best interests
of the Company, its creditors, stockholders, and other interested parties, that voluntary petitions
(the “Petitions”) be filed by each of ViewRay and ViewRay Technologies in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) commencing cases (the
“Chapter 11 Cases”) under the provisions of chapter 11 of the Bankruptcy Code; and it is further

        RESOLVED, that each officer of the Company (each, an “Officer” and collectively, the
“Officers”), be, and each of them, acting alone or in any combination, hereby is, authorized,
directed, and empowered, on behalf of the Company, to execute, acknowledge, deliver, and verify
the Petitions and to cause the same to be filed with the Bankruptcy Court at such time as such
Officer may determine; and it is further

         RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered on behalf of the Company, to execute,
acknowledge, deliver, and verify and file any and all schedules, statements of affairs, lists, and
other papers and to take any and all related actions that such Officers may deem necessary or
proper in connection with the filing of the Petitions and commencement of the Bankruptcy Cases;
and it is further

       RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, from time to time in the name and on behalf of


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the Company, to perform the obligations of the Company under the Bankruptcy Code, with all
such actions to be performed in such manner, and all such certificates, instruments, guaranties,
notices, and documents to be executed and delivered in such form, as the Officer performing or
executing the same shall approve, and the performance or execution thereof by such Officer shall
be conclusive evidence of the approval thereof by such Officer and by the Company; and it is
further

        RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered from time to time in the name and on behalf of the
Company, to cause the Company to enter into, execute, deliver, certify, file, record, and perform
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates or other documents, to pay all expenses,
including filing fees, and to take such other actions, as in the judgment of such Officers, shall be
necessary, proper, and desirable to prosecute to a successful completion the Chapter 11 Cases and
to effectuate the restructuring or liquidation of the Company’s debt, other obligations,
organizational form and structure, and ownership of the Company, all consistent with the foregoing
resolutions and to carry out and put into effect the purposes of these resolutions, and the
transactions contemplated by these resolutions, their authority thereunto to be evidenced by the
taking of such actions; and it is further

Retention of Professionals

        RESOLVED, that the law firm of Faegre Drinker Biddle & Reath LLP (“Faegre Drinker”)
be, and hereby is, authorized, directed, and empowered to represent the Company as restructuring
and general bankruptcy counsel to represent and assist the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance the Company’s rights, including
the preparation of pleadings and filings in the Chapter 11 Cases; and in connection therewith, the
Officers be, and each of them, acting alone or in any combination, hereby is, authorized, directed,
and empowered, on behalf of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers prior to the filing of the Bankruptcy Cases, and to cause to
be filed an appropriate application for authority to retain the services of Faegre Drinker; and it is
further

        RESOLVED, that the law firm of Cravath, Swaine & Moore LLP (“Cravath”) be, and
hereby is, authorized, directed, and empowered to represent the Company as special corporate
counsel to represent and assist the Company in connection with the potential sale of the Company’s
business or assets and in carrying out its duties relating to the potential sale of the Company’s
business or assets and to take any and all actions to advance the Company’s rights and obligations
in connection with the potential sale of the Company’s business or assets and the Bankruptcy Cases;
and in connection therewith, the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company, to
execute appropriate retention agreements, pay appropriate retainers, if required, prior to the filing
of the Bankruptcy Cases, and to cause to be filed an appropriate motion or application for authority
to retain the services of Cravath; and it is further

        RESOLVED, that Berkeley Research Group, LLC (“BRG”) be, and hereby is, authorized,
directed, and empowered to represent the Company as restructuring advisors to represent and assist


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the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations in connection with the Bankruptcy Cases; and in
connection therewith, the Officers be, and each of them, acting alone or in any combination, hereby
is, authorized, directed, and empowered, on behalf of and in the name of the Company, to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to the filing of the
Bankruptcy Cases, and to cause to be filed an appropriate motion or application for authority to
retain the services of BRG; and it is further

        RESOLVED, that B. Riley Securities, Inc. (“BRS”) be, and hereby is, authorized, directed,
and empowered to serve as investment banker to represent and assist the Company in connection
with the potential sale of the Company’s business or assets and in carrying out its duties under the
Bankruptcy Code and to take any and all actions to advance the Company’s rights and obligations
in connection with the Bankruptcy Cases; and in connection therewith, the Officers be, and each
of them, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of the Company, to execute appropriate retention agreements, pay
appropriate retainers, if required, prior to the filing of the Bankruptcy Cases, and to cause to be
filed an appropriate application for authority to retain the services of BRS; and it is further

        RESOLVED, that Stretto, Inc. (“Stretto”) be, and hereby is, authorized, directed, and
empowered to serve as the notice, claims, solicitation, balloting, and administrative agent in
connection with the Bankruptcy Cases; and in connection therewith, the Officers be, and each of
them, acting alone or in any combination, hereby is, authorized, directed, and empowered, on
behalf of and in the name of the Company to execute appropriate retention agreements, pay
appropriate retainers, if required, prior to the filing of the Bankruptcy Cases, and to cause to be
filed an appropriate application for authority to retain the services of Stretto; and it is further

        RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company to
employ any other individual and/or firm as professionals, consultants, financial advisors, or
investment bankers to the Company as are deemed necessary to represent and assist the Company
in carrying out its duties under the Bankruptcy Code, and in connection therewith, the Officers be,
and each of them, acting alone or in any combination, hereby is, authorized, directed, and
empowered, on behalf of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers prior to the filing of the Bankruptcy Cases, and to cause to
be filed an appropriate application for authority to retain the services of such firms; and it is further

Post-Petition Financing

        RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company, to
obtain post-petition financing according to terms negotiated, or to be negotiated, by the
management of the Company, including under debtor-in-possession credit facilities or relating to
the use of cash collateral, if any; and to enter into any guarantees and to pledge and grant liens on
its assets as may be contemplated by or required under the terms of such post-petition financing
or cash collateral agreements; and in connection therewith, the Officers be, and each of them,
acting alone or in any combination, hereby is authorized, directed, and empowered to execute



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appropriate loan agreements, cash collateral agreements, and related ancillary documents; and it is
further

        RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company, to
secure the payment and performance of any post-petition financing by (i)(a) pledging or granting
liens or mortgages on, or security interests in, all or any portion of the Company’s assets, whether
now owned or hereafter acquired, and (b) causing any subsidiary of the Company, if any, to pledge
or grant liens or mortgages on, or security interests in, all or any portion of such subsidiary’s assets,
whether now owned or hereafter acquired, and (ii) entering into or causing to be entered into,
including, without limitation, causing any subsidiaries of the Company to enter into, such credit
agreements, guarantees, other debt instruments, security agreements, pledge agreements, control
agreements, inter-creditor agreements, mortgages, deeds of trust, and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate, or desirable by the Officer
executing the same, the execution thereof by such Officer to be conclusive evidence of such
approval or determination; and it is further

Sale

        RESOLVED, that the Officers be, and each of them, acting alone or in any combination,
hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company, to
commence the marketing for sale of the Company’s business or assets and pursue negotiations
with any interested parties regarding one or more sales of such business or assets pursuant to
section 363 of the Bankruptcy Code or otherwise, in each case subject to further authorization of
the Board, of any such sale; and it is further

Termination of Executive Officers

       RESOLVED, that the Board of ViewRay hereby removes and terminates the employment
of Scott Drake as Chief Executive Officer, Jake Signoriello as Interim Chief Financial Officer
and Robert McCormack as Chief Legal Officer of the Company, effective as of July 15, 2023
(the “Executive Officer Terminations”), and that the Executive Officer Terminations shall be
without cause; and it is further

Appointment of Executive Officers

         RESOLVED, that effective as of immediately following the Executive Officer
Terminations, the Board of ViewRay hereby designates and appoints Paul Ziegler as Chief
Executive Officer, Sanket Shah as General Counsel and Corporate Secretary, Cassie Mahar as
Interim Chief Financial Officer and Adam Podbelski as SVP, Commercial Operations of the
Company, and that Ms. Mahar shall serve in such role until such time as a permanent Chief
Financial Officer has been selected and appointed or until her earlier death, resignation or removal;
and it is further

     RESOLVED, that each of the Officers be, and each of them hereby is, authorized,
empowered and directed, for and on behalf of the Company, to execute and deliver any agreements,


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documents or instruments as may be necessary, appropriate or desirable to memorialize and effect
the designation and appointments of Mr. Ziegler, Mr. Shah, Ms. Mahar and Mr. Podbelski; and it
is further.

Board of Directors

      RESOLVED, that the Board of ViewRay hereby acknowledges the resignation of Phillip
M. Spencer and Gail Wilensky, Ph.D., effective as of July 15, 2023; and it is further

        RESOLVED, that effective as of immediately following the Executive Officer
Terminations, the Board of ViewRay hereby designates and appoints Paul Ziegler as a Class II
director of the Board of ViewRay, with a term expiring at the Company’s 2023 annual meeting of
stockholders or until his earlier death, resignation or removal; and it is further

       RESOLVED, that the Board of ViewRay does hereby ratify and affirm that Scott Drake
will continue to serve as a member of the Board of ViewRay; and it is further

        RESOLVED, that pursuant to Section 3.2 of the Second Amended and Restated Bylaws
of the ViewRay, Inc. and effective as of July 15, 2023, upon the effectiveness of Mr. Spencer and
Ms. Wilensky’s resignations, the size of the Board of ViewRay be reduced from nine (9) directors
to seven (7) directors; and it is further

General Resolutions

         RESOLVED, that all actions heretofore taken, and all agreements, instruments, reports,
and documents executed, delivered, or filed through the date hereof, by any Officer of the
Company in, for and on behalf of the Company, in connection with the matters described in or
contemplated by the foregoing resolutions, are hereby approved, adopted, ratified, and confirmed
in all respects as the acts and deeds of the Company as of the date such action or actions were
taken; and it is further

        RESOLVED, that this unanimous joint written consent of the Boards may be executed in
multiple counterparts, each of which shall be considered an original and all of which shall
constitute one and the same instrument; and it is further

        RESOLVED, that the executed copy of this unanimous joint written consent of the Boards
shall be filed with the minutes of the proceedings of the Boards.




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 Fill in this information to identify the case and this filing:


              ViewRay, Inc.
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                              Combined Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                       7/16/23
        Executed on ______________                          /s/ Paul Ziegler
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Paul Ziegler
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President&Chief ExecutiveOfficer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
